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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -- - - X
                                                                                 :
ROBERT SPRINGER,                                                                 :
                                                                                 :
                                         Plaintiff,                              :
                                                                                 : 16-cv-3492 (AJN)
                                  - against -                                    :
                                                                                 :
CODE REBEL CORPORATION, et al.,                                                  :
                                                                                 :
                                         Defendants.                             :
                                                                                 :
-----------------------------------------                                        X




              MEMORANDUM OF LAW IN SUPPORT OF EXTENDING
         THE AUTOMATIC STAY TO THE CLAIMS ASSERTED AGAINST THE
                 INDIVIDUAL DEFENDANTS IN THIS ACTION


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         Defendants Arben Kryeziu n/k/a Arben Kane (“Kane”) and Reid Dabney (“Dabney” and

together with Kane, the “Individual Defendants”), pursuant to the Order entered on June 30,

2016 (ECF No. 14) in the above-captioned action (the “Action”), respectfully submit this

memorandum of law1 in support of extending the automatic stay to the claims asserted against

them by plaintiff Robert Springer (“Plaintiff”). As the Court instructed, this memorandum also

addresses the issues of the Court’s authority to extend the stay, the potential for collateral

estoppel prejudice to the debtor if the stay is not extended, and lastly the reasons why the stay

should last until the debtor’s Chapter 7 proceeding as been resolved.2

                                                  ARGUMENT

                                                     POINT I

                  THIS COURT SHOULD EXERCISE ITS AUTHORITY
             TO DETERMINE WHETHER THE ACTION SHOULD BE STAYED
                    AS AGAINST THE INDIVIDUAL DEFENDANTS

         As a threshold matter, this Court has the authority to determine whether the Action

should be stayed as against the Individual Defendants. It is well-settled that the Delaware

bankruptcy court (where Code Rebel’s bankruptcy case is pending) and this Court (where the

instant litigation is pending) have concurrent jurisdiction to decide this issue. See In re Baldwin-

United Corp. Litig., 765 F.2d 343, 347 (2d Cir. 1985) (“[t]he court in which the litigation

claimed to be stayed is pending has jurisdiction to determine not only its own jurisdiction but

also the more precise question whether the proceeding pending before it is subject to the

automatic stay.”); Chao v. Hosp. Staffing Servs., Inc., 270 F.3d 374, 384 (6th Cir. 2001) (“courts

1
  Neither of the Individual Defendants has been properly served in this Action. By submitting this memorandum of
law and appearing in this Action in accordance with the Court’s order, the Individual Defendants do not waive any
defenses they may have with respect to service of process, jurisdiction, venue, or other defenses, all of which hereby
expressly reserved.
2
 The Individual Defendants respectfully refer the Court to the Joint Letter filed by the Plaintiff and the Individual
Defendants on June 29, 2016 (ECF No. 13) for a brief recitation of relevant background facts.



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have uniformly held that when a party seeks to commence or continue proceedings in one court

against a debtor or property that is protected by the stay automatically imposed upon the filing of

a bankruptcy petition, the non-bankruptcy court properly responds to the filing by determining

whether the automatic stay applies to (i.e., stays) the proceedings.”).3

         The only issue, therefore, is whether the Court should exercise its authority. Clearly, this

Court has an interest in determining whether or not this Action should continue to proceed before

it. See, e.g., Landis v. N. Am. Co., 299 U.S. 248, 254 (1936). And pursuant to the Order entered

on June 30, 2016, the issue of the applicability of the automatic stay to the Individual Defendants

will be fully briefed before this Court in less than two weeks. It would be a waste of judicial

resources for the parties to repeat their arguments to the Delaware bankruptcy court and delay a

determination of this issue when this Court is fully empowered and positioned to render a

decision in relatively short order. See Patterson v. Newspaper and Mail Deliverers’ Union of

New York and Vicinity, 138 B.R. 149, 151-52 (S.D.N.Y. 1992); Matter of Mahurkar Double

Lumen Hemodialysis Catheter Patent Litigation, 140 B.R. 969, 973 (E.D. Ill. 1992).

                                                      POINT II

THE ACTION SHOULD BE STAYED AS AGAINST THE INDIVIDUAL DEFENDANTS
TO PREVENT POTENTIAL ADVERSE IMPACT AGAINST THE DEBTOR’S ESTATE

         The Action should be stayed as against the Individual Defendants in order to avoid the de

facto allowance of adverse claims against the Debtor’s estate. The automatic stay imposed by §


3
  Moreover, even if the Court did not have explicit authority to decide this issue (it plainly does), it retains inherent
“discretionary powers to stay proceedings in the interest of justice and in control of their dockets.” Chord Associates
LLC v. Protech 2003-D, LLC, No. 07-5138 JFB AKT, 2010 WL 1257874, at *13 (E.D.N.Y. Mar. 25, 2010)
(declining to extend the stay to non-debtors pursuant to § 362(a), but staying proceeding pursuant to the court’s
inherent discretion, in part because the claims were “undifferentiated as to the debtor versus non-debtor
Defendants.”); see also United Nat. Ins. Co. v. Equip. Ins. Managers, Inc., No. CIV. A. 95-CV-0116, 1997 WL
241152, at *3 (E.D. Pa. May 6, 1997) (staying claim against non-debtors inter alia “to avoid multiple litigation or
inconsistent relief” and to protect “[t]he interest of the courts and the public in the complete, consistent and efficient
settlement of controversies.”).


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362(a) of the Bankruptcy Code “is not limited solely to actions against the debtor.” In re Saint

Vincent’s Catholic Medical Centers of New York, 449 B.R. 209, 217 (S.D.N.Y. 2011). Rather,

the automatic stay also bars actions “against third-parties that would have an adverse impact on

the property of the estate.” Id. Courts will therefore extend the automatic stay when claims

against non-debtors are “inextricably interwoven” with claims asserted against the debtor. See

Ng v. Adler, 518 B.R. 228 (E.D.N.Y. 2014) (extending stay to non-debtors where claims were

intertwined with claims against Chapter 7 debtor). As set forth below, Plaintiff’s claims against

the Individual Defendants and Code Rebel are “inextricably interwoven” as a result of (i) the

Individual Defendants’ right to indemnification from Code Rebel, and (ii) the identity of interests

between the Individual Defendants and Code Rebel in the Action. Accordingly, the Action

should be stayed against the Individual Defendants.


A. An Adverse Ruling Against the Individual Defendants Would Be Tantamount To An
   Adverse Ruling Against Code Rebel Due To The Individual Defendants’ Right To
   Indemnification From Code Rebel

        Courts have often found that “[a] debtor corporation's financial responsibility for claims

against its principals creates the identity of interest sufficient to justify extension of the automatic

stay.” Gucci Am., Inc. v. Duty Free Apparel, Ltd., 328 F. Supp. 2d 439, 442 (S.D.N.Y. 2004);

see also In re W.R. Grace & Co., 2004 WL 954772, *2 (Bankr. D. Del. April 29, 2004) (“the

automatic stay has generally been extended to the unusual situation where an action against one

party is essentially an action against the bankruptcy debtor, as in the case where a third-party is

entitled to indemnification by the debtor for any judgment taken against it.”). Indeed, even the

“possibility of a right of indemnification is sufficient” to justify an extension of the automatic

stay to a non-debtor party. In re Jefferson Cty., Ala., 491 B.R. 277, 289 (Bankr. N.D. Ala. 2013).




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        Here, the Individual Defendants are entitled to indemnity from Code Rebel pursuant to

Section 8.01 of the corporation’s by-laws4, which provides:


                 The corporation shall indemnify any person who was or is a party
                 or is threatened to be made a party to any threatened, pending or
                 completed action, suit or proceeding, whether civil, criminal,
                 administrative or investigative (other than an action by or in the
                 right of the corporation), by reason of the fact that he or she is or
                 was a director or officer of the corporation (and, in the discretion
                 of the board of directors, may so indemnify a person by reason of
                 the fact that he is or was an employee, or agent of the corporation,
                 or is or was serving at the request of the corporation as a director,
                 officer, employee or agent of another corporation, partnership,
                 joint venture, trust or other enterprise), against expenses (including
                 attorneys' fees), judgments, fines and amounts paid in settlement
                 actually and reasonably incurred by him in connection with such
                 action, suit or proceeding if he acted in good faith and in a manner
                 he reasonably believed to be in or not opposed to the best interests
                 of the corporation, and, with respect to any criminal action or
                 proceeding, had no reasonable cause to believe his conduct was
                 unlawful.

          Therefore, “the ‘special circumstances’ required to justify extension of a § 362(a) stay

exist [because] a judgment against the indemnified non-debtor will directly affect the debtor's

assets.” Gucci Am., Inc., 328 F. Supp. 2d at 442.


B. Code Rebel Would Be Bound By Any Adverse Ruling Against the Individual
   Defendants in the Action

        The Court should also extend the automatic stay to the Individual Defendants because

any finding of liability against either individual defendant would risk collateral estoppel upon

Code Rebel itself. When dealing with issues of preclusion, courts look to the laws of the state in

which judgment would be or has been rendered. See, e.g., Marrese v. Am. Acad. of Orthopaedic

Surgeons, 470 U.S. 373, 381 (1985). As such, this Court must look to the laws of New York in


4
  A true and correct copy of Code Rebel’s by-laws is attached as Exhibit A to the Declaration of Justin B. Singer
submitted herewith (“Singer Dec.”).


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order to determine whether Code Rebel would be collaterally estopped from challenging an

adverse ruling against the Individual Defendants in this Action.


        The doctrine of collateral estoppel in New York contains two requirements: “First, the

identical issue necessarily must have been decided in the prior action and be decisive of the

present action, and second, the party to be precluded from relitigating the issue must have had a

full and fair opportunity to contest the prior determination.” Kaufman v. Eli Lilly & Co., 65 N.Y.

2d 449, 455 (1985). Importantly, however, “collateral estoppel bars not only parties from a

previous action from litigating an issue decided therein, but those in privity with them as well.”

Gramatan Home Investors Corp. v. Lopez, 46 N.Y.2d 481, 486 (1979). “Privity may be found

where a party’s interest in litigation is virtually identical to an interest it had in a prior litigation,

where it was not actually named, but can be said to have had ‘virtual representation.’” Melwani

v. Jain, No. 02 Civ. 1224, 2004 WL 1900356, at *2 (S.D.N.Y. Aug. 24, 2004); see also Sure-

Snap Corp. v. State Street Bank and Trust Co., 948 F.2d 869, 877 (2d Cir. 1991) (“the law is

well-settled on applying res judicata to third parties whose interests were represented by those

closely aligned to them.”).


        Here, it is clear from the face of the complaint that Code Rebel’s interests are virtually

identical to the Individual Defendants’ interests in the Action. Plaintiff’s complaint makes no

effort to distinguish the conduct of either Individual Defendant from the conduct of the

corporation (or indeed to identify any specific misrepresentations or omissions at all). To the

extent the complaint makes any allegations against Kane and Dabney, it is clear that they have

simply been sued in their capacity as officers of Code Rebel, and that Plaintiff seeks to hold them

liable for statements or omissions made in Code Rebel’s regulatory filings.



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         Moreover, a corporate defendant such as Code Rebel can only be found to have acted

with the requisite scienter under Section 10(b) of the Securities Exchange Act (as alleged in

Count I of Plaintiff’s complaint) if the corporate official who made the alleged false statement

acted with scienter. See, e.g., In re Apple Computer, Inc., 127 Fed. App’x 296, 303-305 (9th Cir.

2005); In re Tyson Foods, Inc. Sec. Litig., 155 Fed App’x 53, 56-57 (3d Cir. 2005); Southland

Sec. Corp. v. INSpire Ins. Solutions, 365 F.3d 353, 366 (5th Cir. 2004). Accordingly, any finding

in this Action that the Individual Defendants acted with the requisite scienter to be found liable

under Section 10(b) of the Securities Exchange Act will necessarily have preclusive effect on

defenses Code Rebel may have against Plaintiff’s claims.5


         In such circumstances, courts often extend the protection of the automatic stay to non-

debtor defendants who were officers or directors of the debtor because “a finding of liability

against management defendants could have a preclusive effect, as collateral estoppel, against the

debtors.” In re SN Liquidation, Inc., 388 B.R. 579, 584-85 (Bankr. D. Del. 2008); see, e.g., In re

Lomas Fin. Corp., 117 B.R. 64, 67 (S.D.N.Y. 1990) (in case involving allegations against

officers of the debtor, the court noted that “it is not possible for the debtor to be a bystander to a

suit which may have a $20 million issue preclusion effect against it in favor of a pre-petition

creditor”) (internal citation and quotations omitted); In re Calpine Corp., 365 B.R. 45, 49

(Bankr. S.D.N.Y. 2006) (extending stay to non-debtor due to “significant risk of collateral

estoppel” against debtor); In re Lion Capital Grp., 44 B.R. 690, 703 (Bankr. S.D.N.Y. 1984)
5
  Conversely, the Individual Defendants cannot be found liable as “control persons” under Section 20(a) of the
Securities Exchange Act (as alleged in Count II of Plaintiff’s complaint) unless the Court first finds that Code Rebel
(as a “controlled person”) committed a “primary violation” under Section 10(b) of the Securities Exchange Act. In
re Asia Pulp & Paper Sec. Litig., 293 F. Supp. 2d 391, 395 (S.D.N.Y. 2003); see also Leykin v. AT&T Corp., 423 F.
Supp. 2d 229, 249 (S.D.N.Y. 2006) (dismissing Section 20(a) claim for failure to establish primary violation under
Section 10(b)). As a result, even if the Court were not inclined to explicitly extend the automatic stay to the
Individual Defendants, Plaintiff would still be prevented from litigating Count II of its Complaint by virtue of the
automatic stay vis-à-vis Code Rebel. As a practical matter, it would make little sense to permit this Action to go
forward on such a piecemeal basis.


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(“[T]he risk that testimony by employees or agents might be subsequently employed against the

debtor … warranted the issuance of a stay.”); In re Am. Film Techs., Inc., 175 B.R. 847, 849-50

(Bankr. D. Del. 1994) (“If the directors are found liable for fraudulent misrepresentations, the

liability will be as agents of [the debtor]. Such liability exposes the corporation to both vicarious

liability under the doctrine of respondeat superior … and the risk of being collaterally estopped

from denying liability for its directors' actions.”) (citing cases).


                                               POINT III

THE ACTION SHOULD BE STAYED AS AGAINST THE INDIVIDUAL DEFENDANTS
      UNTIL THE CONCLUSION OF THE BANKRUPTCY PROCEEDINGS

        In order to avoid unnecessary expense, potentially duplicative and conflicting rulings,

and unwarranted burdens on the bankruptcy estate, this Action should be stayed until the

Debtor’s bankrupty proceeding has concluded. Plaintiff should either commence an adversary

proceeding or file a proof of claim in the Debtor's bankruptcy case asserting the same claims set

forth in its complaint. Those claims can then be administered in the normal course of the

Debtor's bankruptcy case. In the meantime, this Action would remain stayed while Plaintiff's

claims are either disallowed and expunged, allowed and liquidated to a sum certain, or otherwise

administered in the bankruptcy case, at which point this case could be administratively closed.

And if for some reason the Debtor's bankruptcy case closed without Plaintiff's claims being

administered, the stay could then be lifted to permit Plaintiff to proceed with his claims against

the Individual Defendants in this Action.




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                                        CONCLUSION

       For all of the reasons discussed above, the Court should stay the Action as against the

Individual Defendants until the resolution of Code Rebel’s bankruptcy proceedings, and award

the Individual Defendants such other and further relief as the Court deems just and proper.

Dated: New York, New York
       July 8, 2016

                                             Respectfully submitted,

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